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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

  LEWIS ROGERS TODD,
                 Plaintiff,
  v.                                                 MDL NO. 2592

  JANSSEN RESEARCH &                                 SECTION: L
  DEVELOPMENT, LLC f/k/a JOHNSON
  AND JOHNSON PHARMACEUTICAL                         JUDGE: ELDON E. FALLON
  RESEARCH AND DEVELOPMENT LLC,
  et al.,                                            MAG. JUDGE MICHAEL NORTH
                 Defendants.
                                                     JURY TRIAL DEMANDED
  This Documents Relates to:
  No. 2:16-cv-14382




     MEMORANDUM IN SUPPORT PLAINTIFF’S MOTION TO DEEM PRIOR
    SERVICE VALID OR IN THE ALTERNATIVE FOR AN EXTENSION OF TIME
        WITHIN WHICH TO SERVE PROCESS ON BAYER HEALTHCARE
                        PHARMACEUTICALS, INC.


       Plaintiff submits this memorandum in support of their motion for an order from this

Court, deeming prior service on Bayer Healthcare Pharmaceuticals, Inc. valid, or in the

alternative to provide Plaintiff an additional thirty (30) days within which to service process on

Defendant Bayer Healthcare Pharmaceuticals, Inc. through the streamlined service of process

set forth in Pretrial Order (PTO) Nos. 10, 10A, and 10B.

                                      I.      BACKGROUND

      On September 1, 2016, Plaintiff’s complaint was filed in Re: Xarelto (Rivaroxaban)

Product Liability Litigation, MDL No. 2592, Case No. 2:16-cv-14605. Sometime following the

issuance of the summonses in the above-captioned matter, service to Bayer Healthcare

Pharmaceuticals, Inc. was attempted on December 20, 2016.
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       Plaintiff made every attempt to follow the instructions regarding streamlined service as

outlined in PTO No. 10; however, Plaintiff believes the delay in the issuance of summonses, as well as

a delay in mailing, caused interruption in the service attempt.

       Subsequently, on January 12, 2017, Defendant Bayer Healthcare Pharmaceuticals, Inc.

 notified Plaintiff’s counsel by letter that, while they acknowledged receipt of the above-

 captioned complaint and summonses, Defendant deemed these service attempts to be improper as

 they were beyond the 60-day limit provided in PTO No. 10.


                                     II.     LAW AND ANALYSIS

       Fed. R. Civ. R. 4 sets forth the procedure for notifying defendants that a federal civil

 lawsuit has been filed against them and requires a summons to alert defendants that they have a

 limited time in which to respond. If a defendant is not served within 120 days after the

 complaint is filed (within 60 days of the complaint being docketed as per PTO No. 10), Rule 4

 instructs the Court to either (1) dismiss the action without prejudice against the defendant or (2)

 order that service be made within a specified time. If the plaintiff shows good cause for the

 failure, the court must extend the time for service for an appropriate period. Fed. R. Civ. P. 4

 (m). Plaintiff has every intention of pursing their claims against Defendant; it was through delay

 in the issuances of summonses, as well as an oversight on the part of counsel, that service was

 not perfected within the confines of PTO No. 10.

         Under Rule 4 (m), a district court is permitted to dismiss a case without prejudice if a

 defendant has not been served within 120 days after a complaint is filed. See Thompson v.

 Brown, 91 F.3d 20, 21 (5th Cir. 1996).
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      The court may also decide that a permissive extension is appropriate, as permitted in its

discretion, and order that service be made within a specified time. See United States v. Ligas, 549

F.3d 497, 501 (7th Cir. 2008) (citing Henderson v. United States, 517 U.S. 654, 662-63,116 S.Ct.

1638, 134 L.Ed. 2nd 880 (1996)). Once more, if a plaintiff can establish good cause for failing to

serve a defendant, the court must allow additional time for service, and even if good cause is

lacking, the court has discretionary power to extend time for service. See Thompson v. Brown, 91

F.3d 20, 21 (5th Cir. 1996). In addition, such relief may be warranted, "for example, if the

applicable statute of limitations would bar the refiled action, or if the defendant is evading service

or conceals a defect in attempted service." Fed. R. Civ. P.4(m) Advisory Committee's Note

(1993).

      The Seventh Circuit explains that application of Rule 4 (m) as to extending time is best

determined by considering the “arguments and factors advanced by the plaintiff, and pay[ing]

particular attention to the critical factor such as the running of a statute of limitations.”

Cardenas v. City of Chi., 646 F. 3d 1001,1007 (7th Cir. 2011) (citing Panaras v. Liquid Crbonic

Indus. Corp., 94 F.3d 338, 341 ((7th Cir.1996) (additional citation omitted)). A court may also

consider other relevant factors, including the “prejudice to the defendant, actual notice of a

lawsuit, and eventual service. “ Troxell v. Fedders of N. Am., Inc., 160 F.3d 381, 383 (7th Cir.

1998). Ultimately, the court retains its discretion to allow an extension as long as it “properly

sets out the relevant law and makes no factual finding that are clearly erroneous.” Cardenas;

646 F. 3d at 1007 (quoting Troxell, 160 F. 3d 381)

      Here, the Plaintiff has every intention of pursuing their claims and has demonstrated such

to the Defendants, including Bayer Healthcare Pharmaceuticals, Inc. The Plaintiff was not

acting in bad faith. Plaintiff attempted serviced pursuant to PTO No. 10; further, Defendant

acknowledged and received service.
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      Moreover, because this MDL involves hundreds of similarly situated plaintiffs who have

filed claims alleging facts, circumstances, and theories of recovery virtually identical to the

lawsuit filed by this Plaintiff, no actual prejudice has or will occur to Defendant by this court

granting the relief sought herein.

      Plaintiff shows that as a matter of law and fact, they were not in “bad faith” in delaying

service of their complaint and summonses; Defendant is fully aware of and served with hundreds

of identical complaints and has acknowledged the receipt of Plaintiff’s complaint and

summonses in this matter. To dismiss Plaintiff’s claims here would elevate form over substance

and deprive Plaintiff of their day in court based on an error.

      Plaintiff points out that declaring prior service on Bayer Healthcare Pharmaceuticals, Inc.

valid is appropriate under the circumstances to avoid any subsequent issue regarding the statute

of limitations, because the original complaint was timely filed. However, if this Court is

unwilling to declare prior service on Bayer Healthcare Pharmaceuticals, Inc. as valid, Plaintiff

respectfully requests an extension of time in amount of thirty (30) days from the date an order is

entered within which to provide streamlined service of process on Bayer Healthcare

Pharmaceuticals, Inc.

                                      III.   CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests an order from this Court declare

prior service on Bayer Healthcare Pharmaceuticals Inc. to be effective, or in the alternative, grant

thirty (30) days from the date the Order is entered within which to provide streamlined service of

process on Defendant Bayer Healthcare Pharmaceuticals, Inc. No party herein will be prejudiced,

nor will any MDL processes be adversely affected by granting the relief sought herein.
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Dated: January 17, 2017          Respectfully submitted,

                                  By: /s/ Alexandra W. Robertson, Esq.
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                                CERTIFICATE OF SERVICE

       I, Alexandra W. Robertson, certify that on January 16, 2017, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive service in this MDL.



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